Case 2:03-cr-20459-.]Pl\/| Document 144 Filed 08/15/05 Page 1 of 5 PagelD 204
UN|TED STATES D|STRICT COURT

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MEMPHls plvlsioN
05 AUG |5 PH 2= Ul+
uNrrED sTATEs oF AMERch
-v- 2:030R20459-03-Ml W_`i Ut;SrllDHB

WlLLlAM NOBLES
Lee Geraldl Retained
Defense Attorney
8 South Third Street, 4"‘ Floor
Memphis, TN 38103

 

JUDGMENT IN A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the indictment on |Vlay12, 2005. Accordingly,
the court has adjudicated that the defendant is guilty of the following offense(s):

Date Count
Title & Section Mms_e Offense Number(s)
Conc|uded
21 U.S.C. § 846 Conspiracy to Possess with intent to 04/1 812003 1
Distribute Approximate|y 5 Kilograms
of Cocaine

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the Mandatory
Victims Restitution Act of 1996.

lT |S FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district within 30 days of any change of name, residence, or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fully paid.
Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 06/ 1 7/ 1967 August 15, 2005
Deft’S U.S. Marsha| No.: 14341-424

Defendant’s lVlailing Address:
2115 Englewood Avenue

Lockporr, lL 60441 /®OM\QQQ
oN PHlPPs MccALLA
u lTED ATEs DlsTRlcT JuDGE

August lb , 2005

 

This document entered on the docket sheet in compliance
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Case No: 2:03CR20459-03-Mi Defendant Name: Wi||iam NOBLES Page 2 of 4
lMPR|SONMENT
The defendant is hereby committed to the custody of the United States Bureau of

Prisons to be imprisoned for a term of 144 Months (or 12 Years) to be served
concurrently with case 1 :020R00227-1 out of the Northern District of ll|inois.

The defendant is remanded to the custody of the United States Marshal.

RETU RN

l have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment
UN|TED STATES lVlARSHAl_
By:

 

Deputy U.S. Marsha|

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Case No: 2:03CR20459-03-M| Defendant Name: William NOBLES Page 3 of 4

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 5 Years.

The defendant shall report to the probation oche in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

Whi|e on supervised releasel the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance. The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD CONDIT|ONS OF SUPERV|S|ON

1. The defendant shall not leave the judicial district without the permission of the court or probation oft"icer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation ocher;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation ofhcer ten(10) days prior to any change in residence or
employment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally soldl used,
distributed, or administered;

B. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation ocher to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation ofhcer;

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a

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Case No: 2:03CR20459-03-M| Defendant Name: William NOBLES Page 4 of 4
law enforcement ofhcer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officerl the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristics. and shall permit
the probation officer to make such notifications and to confirm the defendants compliance with such
notification requirement

13. if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release

that the defendant pay any such fine or restitution in accordance with the Scheduie of Payments set
forth in the Criminai Monetary Penaities sheet of this judgment

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
reiease:

1. The defendant shall submit to drug testing and drug treatment programs as directed by the
Probation Oftice.

2. The defendant shall cooperate with DNA collection as directed by the Probation thce.

3. The defendant shall seek and maintain full-time employment

CR|M|NAL MONETARY PENALT|ES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Scheduie of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). Aii of the payment options in the Scheduie of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Totai Assessment Tota| Fine Tota| Restitution
$100.00

The Speciai Assessment shall be due immediateiy.

FiNE
No fine imposed.

REST|TUT|ON
No Restitution was ordered.

 

DISTR

Notice of Distribution

This notice confirms a copy of the document docketed as number 144 in
case 2:03-CR-20459 Was distributed by faX, mail, or direct printing on
August 15, 2005 to the parties listed.

ENNESSEE

 

David Charles Henry

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Lee HoWard Gerald

LAW OFFICE OF LEE GERALD
8 S. Third St.

Fourth Floor

Memphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

